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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

Reginald Andre Blanding; Wanda              )
Blanding; Brittani Blanding, by and through )
her Guardian ad Litems Reginald Andre       )
Blanding and Wanda Blanding,                )
                                            )           Civil Action No. 3:14-cv-00299-JMC
                      Plaintiffs,           )
                                            )
v.                                          )          AMENDED ORDER AND OPINION
                                            )
Richland County Sheriff’s Department;       )
Leon Lott; Rickey E. Johnson, Jr.; Frida    )
W. Wyatt; Adrian P. Thompson; Adam C. )
Cornwell; Sara N. Giron; George C. Becker; )
Unknown Confidential Informant;             )
Lieutenant Cowan; Micheal C. Nawrockyj, )
                                            )
                                            )
                      Defendants.           )
____________________________________)

       Plaintiffs Reginald Andre Blanding, Wanda Blanding, and Brittani Blanding (collectively

“Plaintiffs”) filed the underlying action alleging a violation of their constitutional rights under 42

U.S.C. § 1983 by Defendants George C. Becker, Adam C. Cornwell, Lieutenant Cowan, Sara N.

Giron, Rickey E. Johnson, Jr., Leon Lott, Micheal Nawrockyj, Richland County Sheriff’s

Department, Adrian P. Thompson, and Frida W. Wyatt (collectively “Defendants”). (ECF No.

1-1.) Plaintiffs also allege state law tort claims against Defendants. This matter is before the

court pursuant to Defendants’ Motion for Summary Judgment (ECF No. 19).

       In accordance with 28 U.S.C. § 636(b) and Local Rule 73.02(B)(2)(g) (D.S.C.), the

matter was referred to United States Magistrate Judge Paige J. Gossett for pretrial handling. On

July 15, 2015, the Magistrate Judge issued a Report and Recommendation in which she

recommended that the court (1) grant Defendants’ Motion for Summary Judgment, in part, as to




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all of the federal claims, and as to the state law claims of negligent supervision, negligent

training, trespassing, assault, battery, and false imprisonment; (2) decline to exercise

supplemental jurisdiction over the remaining state law claims; and (3) remand the remaining

state law claims of gross negligence and defamation to the Richland County Court of Common

Pleas. (ECF No. 29.) Plaintiff did not file objections to the Magistrate Judge’s recommendation.

For the reasons set forth herein, the court GRANTS Defendants’ Motion for Summary Judgment

(ECF No. 19), in part, as to all of Plaintiffs’ federal claims, and as to Plaintiffs’ state law claims

of negligent supervision, negligent training, trespassing, assault, battery, and false imprisonment.

The court DECLINES to exercise supplemental jurisdiction over the remaining state law claims.

The court REMANDS Plaintiffs’ claims of gross negligence and defamation to the Richland

County Court of Common Pleas for further proceedings.

                                       I.      JURISDICTION

       This court has jurisdiction pursuant to 28 U.S.C. § 1331 because Plaintiff’s Amended

Complaint asserts claims under 42 U.S.C. § 1983.

            II.     RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

       The following relevant facts are viewed in a light most favorable to Plaintiffs.

       Plaintiffs’ claims all arise from an incident on October 20, 2011, when Defendants, who

are alleged to be employees or agents of the Richland County Sheriff’s Department, searched

Plaintiffs’ residence pursuant to a search warrant. On Friday, October 14, 2011, the Drug

Suppression Team (“DST”) of the Richland County Sheriff’s Department (“RCSD”) received a

written complaint from then-County Councilperson Val Hutchinson (“Hutchinson complaint”)

about illegal narcotics sales taking place at two trailers, both of which are in the vicinity of

Plaintiffs’ residence. (ECF No. 19-1 at 1.) Senior Deputy Ricky Johnson was assigned and




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spearheaded the investigation into Hutchinson’s complaint. (Id. at 2.) Johnson began collecting

information with respect to the two trailers, and on October 17, 2011, Johnson and other DST

members went to the two trailer locations to conduct a “knock and talk” investigation. (Id. at 3.)

This process involves uniformed officers making contact with the individuals at both trailer

locations and addressing concerns presented in Hutchinson’s complaint. No arrests were made at

this point, but officers interacted with individuals at the trailers, some of which were in

possession of crack pipes. (Id.)

       On Tuesday, October 18, 2011, the DST initiated a narcotics controlled purchase

investigation in the neighborhood. (Id.) Johnson employed his confidential informant (“CI”) in

this investigation. At this point, the CI had been involved in approximately thirty investigations

and was considered to be extremely trustworthy given his past results. (Id.) The CI was directed

to inspect what drug sales or activity might be taking place at the trailers, and pursue the

purchase of drugs. (Id.) The CI returned twenty to thirty minutes later. (Id.) The CI’s

debriefing yielded the following: The CI had a conversation with a male on a bicycle concerning

the purchase of narcotics. The CI then made a purchase on the back porch of the residence at

402 Gibbs Road from “a black male named, Peanut.” (Id. at 4; see also ECF No. 19-14 at 11-12;

ECF No. 19-16 at 3.) The CI also produced a white, rock-like substance, which he confirmed

that he purchased from “Peanut.” (Id.) The CI then specifically pointed out the location where

the purchase was made to Johnson and Cornwell. The substance was field tested and returned

positive results for cocaine base. (Id.)

       The location of the purchase was cross-referenced using Richland County Geographic

Information System mapping used for tax purposes, which returned a location of 402 Gibbs

Road. (Id. at 5.) Johnson additionally ascertained that Blanding was the last name of the owner




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of the house. (Id.) Johnson thereafter prepared a search warrant affidavit and associated warrant

paperwork for the search of the house. (Id.)

       On October 20, 2011, Johnson then proceeded to Richland County Magistrate Judge

Carolina W. Streater who issued the search warrant at about 12:20 p.m. (Id.) The search warrant

was primarily obtained for the search of the premises itself, rather than the occupants. (Id.)

Within minutes of its issuance, the search warrant was executed at 402 Gibbs Road. (Id. at 6.)

Participating in the execution were Defendants Johnson, Wyatt, Thompson, and Giron. (Id.)

Once Defendants discovered the trailer was free of occupants, they left momentarily to allow

Nawrockyj, the K-9 officer and his canine to enter and conduct a search. (Id.)

       Meanwhile, Plaintiff Brittani Blanding (“Brittani”) and her female cousin, Taylor

Blanding, both approximately seventeen years of age, finished high school classes for the day

and returned to 402 Gibbs Road. (Id.) Officers approached Brittani and questioned her, as well

as told her to contact her parents to have them return home as soon as practicable. (Id.) Wyatt

conducted a frisk search of the females with negative results. (Id.)

       This action was originally brought in the Richland County Court of Common Pleas by

Plaintiffs against the named Defendants for alleged deprivations of their federal constitutional

rights pursuant to 42 U.S.C. § 1983. (ECF No. 1-1 at 16 ¶ 85–17 ¶ 93.) Plaintiffs additionally

alleged state court causes of action of negligence, negligent supervision, negligent training,

trespassing, assault, battery, false imprisonment, and defamation. (Id. at 8 ¶ 30–15 ¶ 80.)

Defendants assert they were acting within the course and scope of their official duties, and as a

result, all named RCSD Defendants are entitled to employee immunity under S.C. Code Ann. §

15-78-70(a) and (b) (1976) and Plaintiffs’ claims must be dismissed as a matter of law. (ECF

No. 19-1 at 7 n.2.)     Defendants assert that Plaintiffs’ Amended Complaint challenges the




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adequacy of the information relied upon by the DST, the sufficiency of the search warrant, and

the nature and scope of the frisk search with respect to Brittani, as well as alleged statements

made by Defendant Cowan directly or on behalf of the Defendant Sheriff concerning this

residence being involved with drug transactions. (ECF No. 19-1 at 7.) Defendants further assert

that they acted appropriately and reasonably at all relevant times and categorically deny that they

violated Plaintiffs’ constitutional rights.   Consequently, Defendants’ RCSD, Lott, Cowan,

Johnson, Wyatt, Thompson, Cornwell, Giron, Becker, and Nawrockyj moved for summary

judgment pursuant to Fed. R. Civ. P. 56 on the following grounds: (1) Plaintiffs Reginald and

Wanda Blanding have failed to state causes of action against Defendants for illegal seizure and

false imprisonment under 42 U.S.C. § 1983, (2) Defendant investigators were justified in

detaining and searching Brittani, (3) pursuant to Harlow v. Fitzgerald, Defendant investigators

are entitled to qualified immunity from all liability, (4) Defendants RCSD and Sheriff Lott are

not amenable to suit, (5) Plaintiffs have not stated a negligence claim and these causes of action

should be dismissed, (6) Brittani failed to state a claim against Defendants for battery, and (7)

Plaintiffs have failed to state a claim for defamation against Defendants. (ECF No. 19-1 at 7–8.)

Plaintiffs filed a Response in Opposition to Defendants’ Motion for Summary Judgment (ECF

Nos. 24, 25) and Defendants filed a Reply (ECF No. 27).

                       III.    LEGAL STANDARDS AND ANALYSIS

       The Magistrate Judge’s Report and Recommendation is made in accordance with 28

U.S.C. § 636(b)(1) and Local Civil Rule 73.02 for the District of South Carolina. The Magistrate

Judge makes only a recommendation to this court. The recommendation has no presumptive

weight. The responsibility to make a final determination remains with this court. See Matthews

v. Weber, 423 U.S. 261, 270-71 (1976).         This court is charged with making a de novo




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determination of those portions of the Report and Recommendation to which specific objections

are made, and the court may accept, reject, or modify, in whole or in part, the Magistrate Judge’s

recommendation, or recommit the matter with instructions. See 28 U.S.C. § 636 (b)(1).

       Objections to the Report and Recommendation must specifically identify portions of the

Report and Recommendation and the basis for those objections. Fed. R. Civ. P. 72(b). “[I]n the

absence of a timely filed objection, a district court need not conduct a de novo review, but

instead must ‘only satisfy itself that there is no clear error on the face of the record in order to

accept the recommendation.’” Diamond v. Colonial Life & Acc. Ins. Co., 416 F.3d 310, 316 (4th

Cir. 2005) (quoting Fed. R. Civ. P. 72 advisory committee’s note). Failure to timely file specific

written objections to a report and recommendation will result in a waiver of the right to appeal

from an order from the court based upon the report and recommendation. 28 U.S.C. § 636(b)(1);

Thomas v. Arn, 474 U.S. 140, 155 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985);

United States v. Schronce, 727 F.2d 91, 94 (4th Cir. 1984). If the plaintiff fails to properly object

because the objections lack the requisite specificity, then de novo review by the court is not

required.

       Fed. R. Civ. P. 56(a) mandates the entry of summary judgment where there is no genuine

issue of material fact and the moving party is entitled to judgment as a matter of law. Summary

judgment is appropriate “if the pleadings, depositions, answers to interrogatories, and admissions

on file, together with affidavits, if any, show that there is no genuine issue as to any material fact

and that the moving party is entitled to a judgment as a matter of law. Fed. R. Civ. P. 56(c). In

considering a motion for summary judgment, the evidence of the non-moving party is to be

believed and all justifiable inferences must be drawn in favor of the non-moving party. See

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). However, “[o]nly disputes over facts




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that might affect the outcome of the suit under the governing law will properly preclude the entry

of summary judgment. Factual disputes that are irrelevant or unnecessary will not be counted.”

(Id. at 248.) The party seeking summary judgment shoulders the initial burden of demonstrating

to the court that there is no genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S.

317, 323 (1986). Once the movant has made this threshold demonstration, the non-moving

party, to survive the motion for summary judgment, may not rest on the allegations averred in his

pleadings. (Id. at 324.) Rather, the non-moving party must demonstrate specific, material facts

exist that give rise to a genuine issue. (Id.) Under this standard, the existence of a mere scintilla

of evidence in support of the non-movant’s position is insufficient to withstand the summary

judgment motion. Anderson, 477 U.S. at 251. Likewise, conclusory allegations or denials,

without more, are insufficient to preclude granting the summary judgment motion. Ross v.

Commc’ns Satellite Corp., 759 F.2d 355, 365 (4th Cir. 1985), overruled on other grounds, 490

U.S. 228 (1989).

       Summary judgment is particularly appropriate in cases involving the qualified immunity

defense because qualified immunity exists to protect government officials not only from liability,

but also from trial. Mitchell v. Forsyth, 472 U.S. 511 (1985). The Fourth Circuit has also

strongly announced a preference to resolve civil rights cases involving qualified immunity

through dismissal short of trial. Pittman v. Nelms, 87 F.3d 116 (4th Cir. 1996). The court will

thoroughly address each of Plaintiff’s objections in turn.

       In Plaintiffs’ Response in Opposition to Defendants’ Motion for Summary Judgment

(ECF No. 24, 25), Plaintiffs concede that Defendants are entitled to summary judgment as to all

federal claims brought pursuant to 42 U.S.C. § 1983. (ECF No. 24-1 at 1-2, 19.) Plaintiffs

further concede that all Defendants are entitled to summary judgment as to the following state




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law claims: negligent supervision (Count Two); negligent training (Count Three); trespassing

(Count Four); assault (Count Five); battery (Count Six); and false imprisonment (Count Seven).

Thus, the only claims remaining to be adjudicated in this action are Plaintiffs’ claims of gross

negligence (Count One) and defamation (Count Eight). Plaintiffs ask the court to remand this

case to state court for further proceedings. (Id. at 19.)

       In Plaintiffs’ Response in Opposition to Defendants’ Motion for Summary Judgment

(ECF No. 24), Brittani confirms that Plaintiffs’ neighborhood “was known as a high-drug area.”

(ECF No. 24-2 at 111:15-18.)         Brittani further confirms that “Richland County Sheriff’s

Department maintained a visible police presence in [Plaintiffs’] neighborhood and would park

marked patrol cars across the road and to the right of [Plaintiffs’] home.” (Id. at 109:2–18;

111:1–18; 112:4–10; 112:24–113:16.) Additionally, “Once the police officers learned from Aunt

May (Reginald Blanding’s sister) that they had the wrong house, they began wrapping up the

search.” (Id. at 93:17–94:12.) As Defendants were finishing the search, Reginald Blanding

arrived home. (Id. at 91:8–10, 21–92:2.) According to Brittani, Defendants were rude and

unapologetic, and it took about a week before the house was cleaned up. (Id.)

       Brittani confirmed that Gregory Samuels is also known as “Peanut.” (Id. at 35:3–9.)

Gregory Samuels is a first cousin of Brittani and the nephew of Reginald and Wanda Blanding.

(Id. at 10–16.) Gregory Samuels was not in jail at the time of the raid on the home. (Id. at 38:2–

9.) Plaintiffs believed that [Gregory Samuels] had been in and out of jail and that he was

involved with drugs. (Id. at 84:3–18.) Gregory Samuels sometimes lives in a trailer behind

Plaintiffs’ property, about 80 to 100 yards from Plaintiffs’ home. (Id. at 98:10–100:6; 103:9–12;

ECF No. 24-3 at 86:12–16.)

       In the Report and Recommendation, the Magistrate Judge observed that in light of




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Plaintiffs’ concession to Defendants’ Motion for Summary Judgment as to all federal claims and

the state law clams of negligent supervision, negligent training, trespassing, assault, battery, and

false imprisonment, the court should exercise discretion and remand the remaining state law

claims of gross negligence and defamation for further proceedings. (ECF No. 29 at 3 (citing 28

U.S.C. § 1367(c) (authorizing a district court to decline to exercise jurisdiction over a

supplemental claim if the court has dismissed all claims over which it had original jurisdiction);

Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 349-50 (1988) (discussing the factors in deciding

whether to exercise supplemental jurisdiction after removal)).) Plaintiffs did not file objections

to the Magistrate Judge’s recommendation.

       In the absence of objections to the Magistrate Judge’s Report and Recommendation, this

court is not required to provide an explanation for adopting the recommendation. See Camby v.

Davis, 718 F.2d 198, 199 (4th Cir. 1983).         After carefully reviewing the record and the

applicable law, the court agrees with the Magistrate Judge’s findings. Accordingly, Defendants’

Motion for Summary Judgment should be granted as outlined by the Magistrate Judge.

                                     IV.     CONCLUSION

       For the foregoing reasons, the court GRANTS Defendants’ Motion for Summary

Judgment (ECF No. 19), in part, as to all of Plaintiffs’ federal claims, and as to Plaintiffs’ state

law claims of negligent supervision, negligent training, trespassing, assault, battery, and false

imprisonment. The court DECLINES to exercise supplemental jurisdiction over the remaining

state law claims. The court REMANDS Plaintiffs’ claims of gross negligence and defamation to

the Richland County Court of Common Pleas for further proceedings. The court adopts the

Magistrate Judge’s Report and Recommendation (ECF No. 29) and incorporates it herein by

reference.




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      IT IS SO ORDERED.




                                              United States District Judge

August 17, 2015
Columbia, South Carolina




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